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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

STATE OF NEW JERSEY,
  25 Market Street, 8th Floor
  Trenton, NJ 08625

STATE OF MARYLAND,
  200 Saint Paul Place
  Baltimore, MD 21202

STATE OF DELAWARE,
  820 North French Street
  Wilmington, DE 19801

STATE OF COLORADO,
  1300 Broadway
  Denver, CO 80203

DISTRICT OF COLUMBIA,
  400 6th Street NW
  Washington, DC 20001

STATE OF HAWAI‘I,
  425 Queen Street                               Civ. No.-__________
  Honolulu, HI 96813

STATE OF ILLINOIS,
  115 South LaSalle Street, 35th Floor
  Chicago, IL 60603

STATE OF MAINE,
  6 State House Station
  August, ME 04333

COMMONWEALTH OF MASSACHUSETTS,
  1 Ashburton Place
  Boston, MA 02108

PEOPLE OF THE STATE OF MICHIGAN,
  3030 West Grand Boulevard, Suite 9-600
  Detroit, MI 48202

STATE OF MINNESOTA,
  445 Minnesota Street, Suite 600
  St. Paul, MN 55101
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STATE OF NEVADA,
  555 East Washington Avenue
  Las Vegas, NV 89101

STATE OF OREGON,
  100 Southwest Market Street
  Portland, OR 9720

STATE OF RHODE ISLAND,
  150 South Main Street
  Providence, RI 02903

STATE OF VERMONT,
  109 State Street
  Montpelier, VT 05609

STATE OF WASHINGTON,
  2425 Bristol Court SW, Second Floor
  P.O. Box 40117
  Olympia, WA 98504
                        Plaintiffs,

   v.

PAMELA J. BONDI, in her official capacity as
Attorney General of the United States,
  950 Pennsylvania Avenue, NW
  Washington, DC 20540

UNITED STATES DEPARTMENT OF
JUSTICE,
  950 Pennsylvania Avenue, NW
  Washington, DC 20540

DANIEL DRISCOLL, in his official capacity as
Acting Director of the Bureau of Alcohol,
Tobacco, Firearms and Explosives,
  99 New York Avenue, NE
  Washington, DC 20226

BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES,
  99 New York Avenue, NE
  Washington, DC 20226


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KEVIN MAXWELL, in his personal and
professional capacity as Manager and Owner of
Rare Breed Triggers, LLC,
  1095 Torren PT
  Geneva, FL 32732

LAWRENCE DEMONICO, in his personal and
professional capacity as President of Rare Breed
Firearms, LLC,
   6124 Osecola Trail
   Austin, TX 78738

RARE BREED TRIGGERS, LLC,
  3523 45th Street South, Suite 100
  Fargo, ND 58104

RARE BREED FIREARMS, LLC,
  15511 W Highway 71, Suite 110444
  Austin, TX 78738

NATIONAL ASSOCIATION OF GUN
RIGHTS, INC.,
  P.O. Box 1776
  Weatherford, Texas 76086

TEXAS GUN RIGHTS, INC.,
  P.O. Box 1776
  Weatherford, TX 76086

PATRICK CAREY,
  5016 Knight Drive
  Zachary, LA 70791

JAMES WHEELER,
  3128 Feathercrest Ln
  Crandall, TX 75114

TRAVIS SPEEGLE,
  3415 Pebble Bar Drive
  Katy, TX 77450

                            Defendants.




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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        1.      Gun violence is a national scourge. In the past five years, nearly 100,000 Americans

were murdered with a gun. During that time, the nation witnessed more than 3,000 mass shootings.

In 2024 alone, more than 5,000 children were shot with a firearm, and more than 1,400 of them

died as a result.

        2.      This epidemic of gun violence has been fueled in recent years by the growing use

of machinegun conversion devices (MCDs), which are used to turn semi-automatic firearms into

fully automatic machineguns that can unleash massive carnage in mere seconds. One such MCD—

the forced reset trigger, or FRT—has become especially popular, including among individuals who

are prohibited from possessing any firearms under federal law. At least 100,000 FRTs have been

sold throughout the country and have made their way into every State, even those that

independently ban such devices under their state laws.

        3.      In response to this growing threat and consistent with its longstanding regulation

of similar devices, the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) correctly

classified FRTs as prohibited machineguns under federal law, undertook robust enforcement

efforts that succeeded in enjoining distributors from selling the deadly devices, and conducted

extensive retrieval operations, seizing nearly 12,000 FRTs from the field.

        4.      But now, the federal government has suddenly reversed course. Despite declaring

in recent years that FRTs pose a serious public safety risk, ATF has not only promised to abandon

enforcing federal law against the distribution and possession of FRTs: it has decided to distribute

thousands of these dangerous devices into communities around the country.

        5.      ATF has cloaked this policy in a settlement agreement (the “Settlement Agreement”

or “Agreement,” attached as Exhibit A) resolving various lawsuits—including a successful

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enforcement action in which a federal court ruled that FRTs are machineguns under federal law

and entered a preliminary injunction against their principal distributor. ATF is now walking away

from that case entirely. As part of the Agreement, ATF is also reversing course in a case where it

appealed an injunction requiring it to return FRTs recovered from certain parties to that suit. If that

were not enough, ATF has elected to go well beyond what the court order in that case requires,

returning FRTs not just to the parties in that litigation, but to anyone anywhere, so long as it is

practicable to do so.

       6.      This reckless decision will not only endanger the public—putting people

nationwide at greater risk of deadly violence—but is contrary to federal law. ATF’s longstanding

position is that federal firearms laws proscribe the distribution and possession of devices like the

FRT because they convert firearms into machineguns that can fire hundreds of uninterrupted

rounds of ammunition with a single pull of the trigger. Even now, ATF has not renounced that

view. Instead, bowing to political pressure, it has decided to simply ignore it.

       7.      If facilitating the violation of federal law were not enough, ATF’s actions will

also—in its own words—“aid and abet violations of state law.” That is because numerous States

independently prohibit the distribution and possession of FRTs, but individuals or entities in these

States are not excluded from receiving the return of seized FRTs under the Agreement.

       8.      Plaintiffs—the States of New Jersey, Maryland, Delaware, Colorado, District of

Columbia, Hawai‘i, Illinois, Maine, Massachusetts, Michigan, Minnesota, Nevada, Oregon, Rhode

Island, Vermont, and Washington (collectively, “Plaintiff States”)—bring this action to urgently

address the irreparable harms that would result from ATF’s patently unlawful actions. If ATF’s

action is allowed to stand, Plaintiff States will suffer dramatic and irreversible harms. Thousands

of weapons their own laws prohibit will be directly distributed within their borders, and they will

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have to expend substantial resources to enforce those laws to confiscate these very same illegal

items. Nor would the harms stop there: redistributing MCDs within Plaintiff States would both

undermine public safety and generate significant added law-enforcement and healthcare costs. The

harms would be irreversible, as once ATF returns these thousands of MCDs, it will be difficult, if

not impossible, to retrieve them.

                                 JURISDICTION AND VENUE

       9.      This Court has jurisdiction under 28 U.S.C. § 1331. Jurisdiction is also proper under

the judicial review provisions of the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 702, 704.

       10.     An actual controversy exists between the parties within the meaning of 28 U.S.C.

§ 2201(a), and this Court may grant declaratory relief, injunctive relief, and other relief pursuant

to 28 U.S.C. §§ 2201-02, and 5 U.S.C. §§ 702, 705 and 706.

       11.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)(2) and (e)(1).

Defendants are agencies of the United States government, officers sued in their official capacities,

and others who are parties to the Agreement. Plaintiff the State of Maryland is a resident of this

judicial district, and a substantial part of the events or omissions giving rise to the claims asserted

in this Complaint occurred and will continue to occur within the District of Maryland.

                                             PARTIES

A.     Plaintiffs

       12.     Plaintiff the State of New Jersey is a sovereign state of the United States and is

represented by and through its Attorney General, Matthew J. Platkin. As the State’s chief legal

officer, the Attorney General is authorized to act on behalf of the State in this matter.

       13.     Plaintiff the State of Maryland, represented by and through its Attorney General

Anthony Brown, is a sovereign state of the United States. As the State’s chief legal officer, the

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Attorney General is authorized to act in federal court on behalf of the State on matters of public

concern.

       14.     Plaintiff the State of Delaware is a sovereign state of the United States. Delaware

is represented by Attorney General Kathy Jennings, who is the chief law enforcement officer of

Delaware.

       15.     Plaintiff the State of Colorado is a sovereign state of the United States. Colorado is

represented by Attorney General Philip J. Weiser, who is the State’s Chief Law Officer.

       16.     Plaintiff the District of Columbia is a municipal corporation organized under the

Constitution of the United States. It is empowered to sue and be sued, and it is the local government

for the territory constituting the permanent seat of the federal government. The District is

represented by and through its chief legal officer, the Attorney General for the District of

Columbia, Brian L. Schwalb.

       17.     Plaintiff the State of Hawai‘i is a sovereign state of the United States of America.

Hawai‘i is represented by Attorney General Anne E. Lopez, who is the chief legal officer of

Hawai‘i and authorized by Haw. Rev. Stat. § 28-1 to pursue this action.

       18.     Plaintiff the State of Illinois, represented by and through its Attorney General

Kwame Raoul, is a sovereign state of the United States. As the State’s chief legal officer, the

Attorney General is authorized to act on behalf of the State in this matter.

       19.     Plaintiff the State of Maine is a sovereign state of the United States of America.

Maine is represented by Aaron M. Frey, the Attorney General of Maine. The Attorney General is

authorized to pursue this action pursuant to 5 Me. Rev. Stat. § 191.




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       20.      Plaintiff the Commonwealth of Massachusetts is a sovereign state of the United

States. Massachusetts is represented by Andrea Joy Campbell, the Attorney General of

Massachusetts, who is the chief law officer of Massachusetts and authorized to pursue this action.

       21.      Plaintiff the People of the State of Michigan is represented by Attorney General

Dana Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized

to bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

       22.      Plaintiff the State of Minnesota is a sovereign state of the United States. Minnesota

is represented by and through its chief legal officer, Minnesota Attorney General Keith Ellison,

who has common law and statutory authority to sue on Minnesota’s behalf.

       23.      Plaintiff the State of Nevada, represented by and through Attorney General Aaron

D. Ford, is a sovereign state of the United States of America. The Attorney General is the chief

law enforcement officer of the State of Nevada and is authorized to pursue this action under Nev.

Rev. Stat. 228.110 and Nev. Rev. Stat. 228.170.

       24.      Plaintiff the State of Oregon is a sovereign state of the United States. Oregon is

represented by Attorney General Dan Rayfield. The Attorney General is the chief legal officer of

Oregon and is authorized to institute this action.

       25.      Plaintiff the State of Rhode Island is a sovereign state of the United States. Rhode

Island is represented by Attorney General Peter F. Neronha, who is the chief law enforcement

officer of Rhode Island.

       26.      Plaintiff the State of Vermont is a sovereign state of the United States of America.

Vermont is represented by Attorney General Charity Clark. Attorney General Clark is authorized

to initiate litigation on Vermont’s behalf.

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        27.     Plaintiff the State of Washington, represented by and through its Attorney General

Nicholas W. Brown, is a sovereign state of the United States. The Attorney General of Washington

is the chief legal advisor to the State and is authorized to act in federal court on behalf of the State

on matters of public concern. Chapter 43.10 RCW.

B.      Defendants

        28.     Defendant Pamela J. Bondi is the Attorney General of the United States. In her

official capacity, she oversees the United States Department of Justice, including the ATF. She is

a party by and through whom the United States entered into the Agreement. The Attorney General

is sued in her official capacity.

        29.     Defendant the United States Department of Justice (“DOJ”) is a federal agency

within the executive branch of the United States government that is responsible for enforcing

federal firearms laws and in which ATF is housed. Defendant DOJ is responsible for implementing

the provisions of the Agreement on behalf of the United States.

        30.     Defendant Daniel P. Driscoll is the Acting Director of ATF. He is a party by and

through whom the United States entered into the Agreement. Acting Director Driscoll is sued in

his official capacity.

        31.     Defendant ATF is a law enforcement agency within DOJ that is responsible for the

enforcement of federal firearms laws. Defendant ATF is responsible for implementing the

provisions of the Agreement on behalf of the United States.

        32.     The Defendants identified in ¶¶ 28-31 above are collectively referred to herein as

the Government Defendants.

        33.     Defendant Kevin Maxwell is the Manager and Owner of Rare Breed Triggers, LLC.

He is sued in his personal and official capacity. Defendant Maxwell is a necessary party as the

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Settlement Agreement that he entered into with other Defendants may be affected by the requested

relief, and this may impede his interests under that Agreement.

       34.     Defendant Lawrence DeMonico is the President of Rare Breed Firearms, LLC. He

is sued in his personal and official capacity. Defendant DeMonico is a necessary party as the

Settlement Agreement that he entered into with other Defendants may be affected by the requested

relief, and this may impede his interests under that Agreement.

       35.     Defendant Rare Breed Triggers, LLC, is a company that is organized in North

Dakota as Rare Breed Triggers, LLC. Rare Breed Triggers, LLC is a necessary party as the

Settlement Agreement that it entered into with other Defendants may be affected by the requested

relief, and this may impede its interests under that Agreement.

       36.     Defendant Rare Breed Firearms, LLC, is a sister company of Rare Breed Trigger,

LLC, and is incorporated in Texas. Rare Breed Firearms, LLC is a necessary party as the

Settlement Agreement that it entered into with other Defendants may be affected by the requested

relief, and this may impede its interests under that Agreement.

       37.     The Defendants identified in ¶¶ 33-36 are collectively referred to herein as the RBT

Defendants.

       38.     Defendant National Association for Gun Rights, Inc., (“NAGR”) is a Virginia

corporation with its headquarters in Loveland, Colorado. NAGR is a necessary party as the

Settlement Agreement that it entered into with other Defendants may be affected by the requested

relief, and this may impede its interests under that Agreement.

       39.     Defendant Texas Gun Rights, Inc. (“TGR”) is a 501(c)(4) organization

headquartered in Texas. TGR is a necessary party as the Settlement Agreement that it entered into



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with other Defendants may be affected by the requested relief, and this may impede its interests

under that Agreement.

        40.     Defendant Patrick Carey is sued in his personal capacity. Defendant Carey is a

necessary party as the Settlement Agreement that he entered into with other Defendants may be

affected by the requested relief, and this may impede his interests under that Agreement.

        41.     Defendant James Wheeler is sued in his personal capacity. Defendant Wheeler is a

necessary party as the Settlement Agreement that he entered into with other Defendants may be

affected by the requested relief, and this may impede his interests under that Agreement.

        42.     Defendant Travis Speegle is sued in his personal capacity. Defendant Speegle is a

necessary party as the Settlement Agreement that he entered into with other Defendants may be

affected by the requested relief, and this may impede his interests under that Agreement.

        43.     The Defendants identified in ¶¶ 38-42 are collectively referred to herein as the

NAGR Defendants.

                                            ALLEGATIONS

A.      The Harms And Costs Of Gun Violence

        44.     Gun violence creates a cascading set of harms to the public, the heaviest of which

are felt by its victims and their families. In 2023, for example, there were nearly 47,000 gun related

fatalities nationwide, including 430 in New Jersey, 737 in Maryland, 124 in Delaware, 1,019 in

Colorado, 225 in the District of Columbia, 73 in Hawai‘i, 1,691 in Illinois, 200 in Maine, 270 in

Massachusetts, 1,384 in Michigan, 525 in Minnesota, 616 in Nevada, 642 in Oregon, 58 in Rhode

Island, 83 in Vermont, and 1,053 in Washington.1


1
 U.S. Dep’t of Health & Hum. Servs., Ctrs. for Disease Control & Prevention, WISQARS Fatal and Nonfatal Injury
Reports, CDC WISQARS, https://tinyurl.com/yc36tz6j (last visited June 8, 2025) (Nationwide); Id.,

                                                     11
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         45.      Firearm violence remained the leading cause of death among American youth for

the third year in a row in 2023, with pediatric firearm fatality and injury rates surging more than

50% since 2019.2

         46.      People who survive a firearm related injury often experience lifelong effects. These

include chronic mental health problems from conditions such as post-traumatic stress disorder and

physical disabilities from injury to the brain or spinal cord.3 Family members of those who are

affected by firearm related injuries also experience lifelong negative effects, including an increase

in trauma-related disorders, mood disorders, and substance abuse disorders.4

         47.      Gun violence also affects communities. As gun violence rises, community members

bear the financial burden, as the response to gun violence strains the resources of law enforcement

and healthcare providers. A single fatal shooting in Newark, New Jersey can cost taxpayers

$2,188,700 and a non-fatal shooting incident can cost $1,007,077.5 In Maryland, the costs are even

higher. Each fatal shooting in Baltimore can cost taxpayers $2,427,333 and each non-fatal shooting

can cost taxpayers $1,509,434.6




https://tinyurl.com/2t6u33v6       (New       Jersey);    Id.,   https://tinyurl.com/m84eya3b        (Maryland);   Id.,
https://tinyurl.com/yc2p8hrv         (Delaware);       Id.,     https://tinyurl.com/29tc59yh       (Colorado);     Id.,
https://tinyurl.com/4xynpxz2 (District of Columbia); Id., https://tinyurl.com/6x2ne8a7 (Hawai‘i); Id.,
https://tinyurl.com/5ctv8tkw (Illinois); Id., https://tinyurl.com/yc6fr6fn (Maine); Id., https://tinyurl.com/2pnycdt8
(Massachusetts); Id., https://tinyurl.com/4s4auz56 (Michigan); Id., https://tinyurl.com/ywrj7sa4 (Minnesota); Id.,
https://tinyurl.com/34p43x4e (Nevada); Id., https://tinyurl.com/muebjvak (Oregon); Id., https://tinyurl.com/ydpurak7
(Rhode Island); Id., https://tinyurl.com/34dakzxa (Vermont); Id., https://tinyurl.com/2vdt94kc (Washington).
2
  Amanda Hernández, Youth Gun Deaths in the US Have Surged 50% Since 2019, N.J. Monitor (Mar. 21, 2025, 6:25
AM), https://tinyurl.com/y2pudjku.
3
   Fast Facts: Firearm Injury and Death, Ctrs. for Disease Control & Prevention (July 5, 2024),
https://tinyurl.com/2bzztfv6.
4
  Zurui Song et al., Firearm Injuries in Children and Adolescents: Health and Economic Consequences Among
Survivors and Family Members, 42 Health Affs. 1541, 1544-49 (2023).
5
  Nat’l Inst. for Crim. Just. Reform, Cost of Violence – Newark, NJ, Cost of Violence, https://tinyurl.com/dt46wsv9
(last visited June 5, 2025).
6
  Nat’l Inst. for Crim. Just. Reform, Cost of Violence – Baltimore, MD, Cost of Violence, https://tinyurl.com/msb45rru
(last visited June 5, 2025).
                                                         12
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B.     Federal Regulation Of Machineguns

       48.     Congress enacted the National Firearms Act (“NFA”) in 1934 to regulate a series

of especially dangerous weapons, particularly machineguns and sawed-off firearms, through a tax

on the manufacture, importation, sale, or other disposal of these type of firearms. The definition

of “firearms” under the NFA includes, in relevant part, “a machinegun.” 26 U.S.C. § 5845(a).

       49.     The NFA defined a “machinegun” as “any weapon which shoots, is designed to

shoot, or can be readily restored to shoot, automatically more than one shot, without manual

reloading, by a single function of the trigger.” 26 U.S.C. § 5845(b). The NFA has included that

definition of “machinegun” since its original passage in 1934, when Congress sought to curb

widespread gang violence enabled by such weapons. See H.R. Rep. No. 73-1780, at 1 (1934)

(explaining that “[t]he gangster as a law violator must be deprived of his most dangerous weapon,

the machine gun” and “while there is justification for permitting the citizen to keep a pistol or

revolver for his own protection …, there is no reason why anyone except a law officer should have

a machinegun.”).

       50.     Congress enacted the Gun Control Act of 1968 (“GCA”) after finding that “existing

Federal controls over [widespread traffic in firearms moving in interstate commerce] do not

adequately enable the States to control this traffic within their own borders.” Pub. L. No. 90-351,

§ 901(a)(1), 82 Stat. 197, 225 (1968). The GCA expanded the statutory definition of machinegun

to include “the frame or receiver of any such weapon, any combination of parts designed and

intended for use in converting a weapon into a machinegun, and any combination of parts from

which a machinegun can be assembled if such parts are in the possession or under the control of a

person.” Gun Control Act of 1968, Pub. L. 90-618, § 5845(b), 82 Stat. 1213, 1231 (codified at 26

U.S.C. §5845(b)).

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        51.      In the Firearm Owners’ Protection Act, enacted in 1986, Congress further expanded

the statutory definition of machinegun to include “any part designed and intended solely and

exclusively, or combination of parts designed and intended, for use in converting a weapon into a

machinegun.” Pub. L. 99-308, §109(a), 100 Stat. 449, 460 (1986) (codified at 26 U.S.C. §5845(b));

see 26 U.S.C. §5845(b)).

        52.      Additionally, the Firearm Owners’ Protection Act prohibited the private sale or

possession of any “machinegun” manufactured thereafter. Pub. L. 99-308, § 102, 100 Stat. 449,

453 (1986); see 18 U.S.C. §§ 921(a)(24), 922(o); 26 U.S.C. § 5845(b).

C.      The Threat Posed by Machinegun Conversion Devices And Forced Reset Triggers

        53.      Machinegun conversion devices (MCDs) are devices that are used to convert a

semi-automatic firearm, which requires a shooter to release and pull the trigger for each shot they

fire, into a machinegun that fires automatically. Firearms equipped with MCDs often exceed the

rate of fire of many machineguns, firing up to 20 bullets per second. The use of MCDs decreases

firing accuracy and increases the likelihood of multiple victims. For example, in one incident in

New Jersey, a shooter fired 28 rounds from an MCD-equipped firearm in just over one second,

seriously injuring three people.

        54.      In recent years there has been a dramatic proliferation of machinegun conversion

devices (MCDs). Between 2017 and 2021, ATF recovered 5,454 MCDs—a 570 percent increase

over the prior five-year period.7 In 2023 alone, ATF recovered a total of 4,542 MCDs, nearly 83

percent of the amount recovered between 2017 and 2021.8



7
   ATF, National Firearms Commerce & Trafficking Assessment: Crime Guns, Part VII, at 4 (2023),
https://tinyurl.com/3u3jfudb.
8
  Firearms Trace Data - 2023, ATF (Dec. 9, 2024), https://tinyurl.com/52dw3fyr (click Firearm Types Recovered and
Traced in the United States and Territories (xcl)).
                                                       14
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        55.      The increase in MCDs has corresponded to increasing incidents of machinegun fire.

Between 2019 and 2021, such incidents “exploded by about 1,400%.”9

        56.      MCDs have also been used increasingly in violent crimes. ATF reported a

“dramatic increase in the use of [MCDs] in violent crimes” from 2018 to 2023.10 That includes an

approximately 400% increase from 2022 to 2023 in firearm traces involving an MCD in which the

trace was also associated with a crime of violence—including homicides, assaults, and the murder

of a police officer.

        57.      MCDs have been associated with several criminal incidents in Plaintiff States. For

instance, New Jersey has identified at least 26 criminal cases where MCDs have been recovered.

In another recent incident in Maryland, an MCD-equipped firearm was recovered (along with an

AK-47) after a mass shooting that left one person dead and nine injured in Baltimore County.11

ATF reports show that state and local law enforcement frequently encounter MCD-equipped

firearms as part of criminal investigations. In 2023 alone, ATF ran traces on approximately 1,000

MCDs recovered in Plaintiff States.12

        58.      The “forced reset trigger,” or “FRT,” is a type of MCD that is designed to replace

the standard trigger assembly on an AR-15-type rifle. FRTs include those marketed and sold as

the FRT-15, as well as under the Wide Open Trigger (“WOT”) label. Although designed for an

AR-15-type rifle, other firearms can be configured or modified to allow installation of FRTs. For




9
  Scott Glover & Curt Devine, A Device that Can Turn a Semi-Automatic Weapon into a Machinegun in Moments Is
Wreaking Havoc on American Streets, CNN (Aug. 30, 2022), https://tinyurl.com/5n7t5v5m.
10
   ATF, F.Y. 2024 Congressional Budget Submission 14 (2023), https://tinyurl.com/myswym87.
11
   Christian Olaniran & Tara Lynch, Man Arrested with AK-47, Stolen Vehicle During Investigation into Towson Mass
Shooting, Police Say, CBS News (Dec. 23, 2024, 11:12 PM), https://tinyurl.com/47bemc26.
12
   Firearms Trace Data - 2023, supra note 8.
                                                       15
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example, the RBT Defendants have stated that the FRT-15 they manufacture is compatible with

some AR-9mm firearms.

        59.     The purpose of an FRT is to allow a shooter to achieve rapid, continuous fire by

pulling the FRT trigger once and maintaining continuous rearward pressure. A firearm equipped

with an FRT enables the firearm to shoot 800 to 900 rounds per minute, regardless of the shooter’s

skill, training, or stamina.

        60.     In a typical AR-type semi-automatic firearm, the shooter must pull and release the

trigger to fire each shot. Specifically, when the shooter pulls the trigger, it releases the hammer,

which strikes the firing pin, initiating the release of a bullet. Upon the bullet’s release, the recoil

from the shot forces a part known as the bolt carrier backwards. The rearward movement of the

bolt carrier assembly extracts and then ejects a cartridge case, and depresses—or cocks—the

hammer, which is held in place by a part known as the disconnector. The disconnector interrupts

the weapon’s operating cycle, forcing the shooter to release the trigger to reset it, and then to pull

it again to fire the next round.

        61.     In an FRT trigger assembly, the hammer is modified, and the disconnector is

removed and replaced with a larger trigger that features a lobe-like sear surface, as well as a locking

bar. Because an FRT has no disconnector, it eliminates the need for the shooter to release their pull

of the trigger to fire an additional shot. In a typical AR-type firearm, the forward movement of the

bolt carrier assembly following a shot loads a subsequent cartridge without releasing the hammer

because the disconnector holds the hammer in place. In an FRT-equipped firearm, however, the

bolt carrier’s forward movement automatically releases the hammer by striking the locking bar.

Thus, the shooter needs to do only one thing—maintain rearward pressure on the trigger—and

rounds will continuously fly out of an FRT-equipped firearm.

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       62.     The functionality of an FRT-equipped firearm is similar to a machinegun like the

military-standard M16. Those machineguns either remove the disconnector entirely or, more

typically, remove it from the firing sequence when set to automatic mode. On an M16, the firing

sequence starts similarly to the one on an unmodified AR-15. But once the backwards-moving bolt

carrier depresses the hammer, it is engaged by a part known as the sear, which holds the hammer

into place until the forwards-moving bolt carrier displaces it. That allows the hammer to return to

the firing pin, so that the gun will continue to fire so long as the shooter applies pressure to the

trigger. In that way, both FRTs and other machineguns allow a shooter’s single application of force

to the trigger to fire shots continuously until the gun’s magazine is empty.

       63.     Because of their design, law enforcement encountering a firearm equipped with an

FRT may not be cognizant of that fact. Installing an FRT involves removing the original trigger

assembly, and replacing it with an FRT. This makes FRTs far less conspicuous and not as easily

identifiable as other after-market MCDs such as auto-sears (also known as “switches”). Whereas

auto-sears are after-market add-ons that stick out from the back of a firearm and are thus generally

apparent to law enforcement, FRTs require familiarity and inspection of the trigger assembly, and

may require disassembly or test-firing to be identified. As a result, the number of FRT-equipped

firearms recovered by law enforcement is likely underreported, and their recovery would not

ordinarily be captured during the firearms tracing process.

       64.     Nonetheless, FRTs have been linked to several criminal incidents. From January

2021 through July 25, 2024, the ATF Firearms and Ammunition Technology Division conducted

approximately eighty criminal examinations of FRTs as a part of criminal cases. ATF classified a

total of 143 FRTs as a part of those cases. As of August 2024, ATF was continuing to recover

FRTs in connection with criminal investigations, including investigations into the illicit

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distribution of narcotics, firearms trafficking, the possession of firearms by prohibited individuals,

and the distribution of firearms to such individuals.

           65.      In one incident in 2023, ATF recovered an AR-type firearm equipped with an FRT

during the execution of a federal search warrant as part of an investigation into an armed narcotics

trafficker. ATF found that the firearm had been involved in seven separate shootings, including a

drive-by shooting targeting a home and a shooting directed at an unmarked police vehicle.

D.         ATF’s Longstanding View That FRTs and Similar Devices are “Machineguns”

           66.      Title 28 Section 599A(b)(1) of the U.S. Code provides ATF with the authority to

investigate violations of federal firearms law at the direction of the Attorney General. Under the

corresponding federal regulation at 28 C.F.R. § 0.130, the Attorney General provides ATF with

the authority to investigate, administer, and enforce the laws related to firearms, including under

the GCA, see 18 U.S.C. §§ 921-34, and the NFA, see 26 U.S.C. §§ 5801-72.

           67.      ATF’s implementing regulations state that the term “automatically” used in the

NFA definition of a machinegun means “functioning as the result of a self-acting or self-regulating

mechanism that allows the firing of multiple rounds through a single function of the trigger.” 27

C.F.R. § 479.11. The regulations also state that a “single function of the trigger means a single pull

of the trigger and analogous motions.” Id. (internal quotations omitted).

           68.      In 2006, ATF issued Ruling 2006-2, which interpreted the phrase “single function

of the trigger” in 26 U.S.C. § 5845(b) to mean “single pull of the trigger.”13 Under Ruling 2006-

2, any device that “fire[s] repeatedly” when “the shooter maintains finger pressure against the

stock” (e.g., because an internal coiled spring pushes the trigger forward) is deemed a




13
     ATF Ruling 2006-2, at 2 (Dec. 13, 2006).
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machinegun.14 A device that “initiate[s] an automatic firing cycle which continues until either the

finger is released or the ammunition supply is exhausted” is a machinegun.15

            69.   Since the 1970s, ATF has consistently classified devices functionally similar to

FRTs as machineguns. ATF first classified as a machinegun a trigger device operating on these

principles in 1975. It subsequently classified as machineguns devices materially similar to the

FRT-15 and WOT in 1994, 2004, 2005, 2006, and 2017. In total, ATF has classified approximately

17 distinct devices similar to the FRT as machineguns.

            70.   In 2021, ATF issued two reports classifying both the FRT-15 and the WOT as

“machineguns.” As part of its testing, ATF applied both plastic zip ties and a metal cable seal to

the trigger of an FRT to apply continuous pressure: it observed that the weapon it tested fired

repeatedly, with no need to disengage between shots. On March 22, 2022, ATF issued an open

letter to federal firearms licensees stating that it had determined that certain FRTs were indeed

machineguns under federal law and intended to “take appropriate remedial action with respect to

sellers and possessors of these devices.” ATF encouraged possessors of these devices “to contact

ATF for further guidance on how they may divest possession.”

            71.   ATF proceeded to take several steps to seize and recover FRTs in the field. ATF

prioritized its retrievals based on public safety concerns. For example, ATF focused on whether

the purchaser’s criminal history requires heightened review, or the person has received multiple

devices indicative of further re-selling or trafficking.

            72.   As of August 2024, ATF had identified at least 11,884 FRT-15s and WOTs in its

possession, including FRTs sold by the RBT Defendants, Big Daddy Unlimited (“BDU”), Wide



14
     Id.
15
     Id. at 3.
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Open Enterprises (“WOE”) (the maker of the WOT), and resellers. The FRTs in ATF’s possession

as of August 2024 included but were not limited to: (i) FRTs that were seized pursuant to search

warrants, other judicial process, or warrant exceptions as part of a criminal investigation into the

possession or distribution of the devices by a manufacturer or distributor; (ii) FRTs that were

subject to national retrieval efforts from possessors in connection with one of several criminal

investigations; and (iii) FRTs that were seized pursuant to search warrants or judicial process as

part of an investigation into other criminal conduct (e.g., firearms trafficking, narcotics trafficking,

felon-in-possession), where the subject of the investigation was also in possession of one or more

of the devices. These FRTs were retrieved from many States, including from Plaintiff States. For

example, at least 23 FRTs shipped to individuals in New Jersey have been recovered by law

enforcement authorities.

        73.     ATF estimates that each individual retrieval of an FRT requires a combined

expenditure of 16 to 24 man-hours, split between intelligence professionals engaged in analysis

and Special Agents engaged in the retrieval and associated investigatory work. ATF agents have

expended thousands of hours on these retrieval efforts nationally.

        74.     In January 2023, ATF brought an enforcement action in New York against the RBT

Defendants. Compl., United States v Rare Breed Triggers, LLC (RBT), 690 F. Supp. 3d 41

(E.D.N.Y. 2023) (No. 1:23-cv-00369). The district court issued a preliminary injunction against

the company’s continued distribution of FRTs after it found the federal government likely to

succeed on the merits of its claim that FRTs are prohibited under federal law. RBT, 690 F. Supp.

3d 51 at 88. Defendants appealed, and the matter was fully briefed and argued before the U.S.

Court of Appeals for the Second Circuit by December 2024. See Dkt., No. 23-7276 (2d Cir.).



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       75.     In February 2023, the United States filed a civil forfeiture action in the District of

Utah. See Compl., United States v. Misc. Firearms and Related Parts and Equip. Listed in Exhibit

A (Misc. Firearms), No. 1:23-cv-17 (D. Utah Feb. 13, 2025). That action sought the forfeiture of

approximately 1,000 FRTs and various FRT component parts that had been seized from Defendant

Demonico and certain subcontractors of the RBT Defendants. Id.

       76.     In August 2023, the NAGR Defendants filed a lawsuit in the Northern District of

Texas challenging ATF’s classifications of the FRT-15 and WOT as machineguns. Compl., Nat’l

Ass’n for Gun Rts., Inc. v. Bondi (NAGR), 741 F. Supp. 3d 568 (N.D. Tex. 2024) (No. 4:23-cv-

830). In July 2024, the district court granted plaintiffs’ motion for summary judgment and issued

a Final Judgment that vacated and set aside the challenged classifications, enjoined the United

States from implementing or enforcing ATF’s “expanded definition of ‘machinegun’” against the

plaintiffs to the suit, enjoined the United States from pursuing criminal enforcement actions against

the RBT Defendants, and ordered the United States to return any FRTs “seized pursuant to their

unlawful classification” to all parties in that litigation within 30 days. Final Judgment, NAGR, 741

F. Supp. 3d 568 (No. 4:23-cv-830), ECF No. 101. The district court subsequently extended the

return deadline to February 22, 2025. Order, NAGR, 741 F. Supp. 3d 568 (No. 4:23-cv-830), ECF

No. 112. The United States appealed the NAGR decision, and the matter was fully briefed and

argued to the U.S. Court of Appeals for the Fifth Circuit by December 2024. See Dkt., NAGR v.

Bondi, No. 24-10707 (5th Cir.).

       77.     Shortly before the district court’s February 22 deadline for returns to the parties,

the United States advised the district court that it was taking steps to comply, but would not return

“FRT-15s and WOTs in states where possession of FRT-15s and WOTs is illegal under state law.”

Notice of Compliance at 5-6, NAGR, 741 F. Supp. 3d 568 (No. 4:23-cv-830), ECF No. 126. The

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United States also stated that it would not return FRTs to persons prohibited from possessing a

firearm under 18 U.S.C. § 922(g) and that it would run background checks for those seeking return

of an FRT. Id. at 5.

       78.     Three days after the February 22 return deadline passed, the NAGR Defendants

submitted a Notice of Non-Compliance asserting that the United States had not yet returned the

FRTs and arguing that FRTs should be returned to all plaintiffs and their members regardless of

the State in which they resided because the federal government could not “be trusted with

interpreting state law.” Pls.’ Notice of Non-Compliance at 4, NAGR, 741 F. Supp. 3d 568 (No.

4:23-cv-830), ECF No. 127.

       79.     The United States responded to the NAGR Defendants’ submission that the district

court’s order did not require it to “aid and abet violations of state law.” Response at 2-3, NAGR,

741 F. Supp. 3d 568 (No. 4:23-cv-830), ECF No. 128.

E.     The Government Defendants’ Decision to Redistribute All Recovered FRTs

       80.     On February 7, 2025, President Trump issued an Executive Order titled “Protecting

Second Amendment Rights,” which directed Defendant Bondi to review, among other things, all

rules ATF promulgated between 2021 and 2025, and all positions taken by the federal government

in lawsuits related to firearms. Exec. Order. No. 14,206, 90 Fed. Reg. 9503 (Feb. 7, 2025).

       81.     In late April 2025, following a change in ATF leadership and apparently in

accordance with the President’s Executive Order, the federal government filed motions in the RBT

and NAGR appeals and in the Utah forfeiture action seeking to put them on hold pending settlement

discussions. See Motion, United States v. RBT, No. 23-7276 (2d Cir. Apr. 22, 2025), ECF No. 80;

Unopposed Motion, NAGR v. Bondi, No. 24-10707 (5th Cir. Apr. 22, 2025), ECF No. 125; Motion,

Misc. Firearms, No. 1:23-cv-17 (D. Utah Apr. 23, 2025), ECF No. 44.

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       82.     On May 16, 2025, Defendants entered into the Agreement, which resolved all three

of the above actions. The Agreement states that the Government Defendants will not enforce any

statute or agency interpretation under which an FRT is “contended to be” a machinegun provided

that the FRTs are not designed for use in handguns. Ex. A at ¶ 11. The Agreement purports that it

will bind the Government Defendants perpetually and universally.

       83.     The Agreement also commits the federal government “to return FRTs” “to the

extent practicable” that any federal agency “has seized or taken as a result of a voluntary surrender”

in response to any request received by September 30, 2025 (the “Redistribution Policy”). Id. at

¶ 3. This Redistribution Policy is not limited to the parties to the NAGR, Eastern District of New

York, or District of Utah lawsuits that are the subject of the Agreement. Instead, it requires the

Government Defendants to return FRTs to any entity or individual from whom they were seized.

The Agreement includes no carve outs on its face that would exclude returns to individuals or

entities located in States that bar the possession of FRTs or FRT-equipped firearms. Nor does the

Agreement include a carve out excluding returns to individuals who are barred from possessing

firearms by federal law pursuant to 18 U.S.C § 922(g), such as convicted felons.

       84.     Pursuant to the Agreement, the parties proceeded to seek dismissal of all pending

litigation. On May 16, 2025, the federal government filed a motion to voluntarily dismiss the

NAGR appeal in the Fifth Circuit, which was granted on May 19, 2025. Mot. to Dismiss Appeal,

NAGR v. Bondi, No. 24-10707 (5th Cir. May 16, 2025), ECF No. 135. The federal government

filed a stipulation of dismissal with prejudice in the RBT case in district court on May 16, 2025,

see Stipulation of Dismissal, RBT, 690 F. Supp. 3d 51 (No. 1:23-cv-00369), ECF No. 149. Three

days later, RBT moved to dismiss their Second Circuit appeal, see Motion, U.S. v. RBT, No. 23-

7276 (2d. Cir. May 19, 2025), ECF No. 83, which was granted on May 21, 2025, see Motion Order,

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No. 23-7276 (2d. Cir.), ECF No. 85. And on May 16, 2025, the parties likewise filed a stipulation

of dismissal of the Utah forfeiture action. Stipulation of Dismissal, Misc. Firearms, No. 1:23-cv-

17 (D. Utah.). The Utah action was terminated on May 19, 2025.

F.     The Harms Imposed on the Plaintiff States by the Redistribution Policy

       85.     The Government Defendants’ redistribution of FRTs—a number that totals at least

11,884—will impose serious sovereign and fiscal injuries on the Plaintiff States.

       86.     At least 14 of the Plaintiff States have state laws that independently prohibit FRTs

or FRT-equipped firearms: Colorado (Colo. Rev. Stat. §§ 18-12-101(1)(g.7), 18-12-

102); Delaware (Del. Code Ann. tit. 11, § 1444(a)(6)(b)); District of Columbia (D.C. Code §§ 7-

2501.01(10), 22-4501(4), 22-4514(a)); Hawai‘i (Haw. Rev. Stat. § 134-8.5); Illinois (720 Ill.

Comp. Stat. 5/24-1(a)(7), (a)(14)); Maryland (Md. Code , Crim. Law §§ 4-301(m)(1), 4-305.1);

Massachusetts (Mass. Gen. Laws Ann. ch. 140, § 121, ch. 269, § 10(c)); Michigan (Mich. Comp.

Laws §§ 750.224(1)(a), 750.224e(1)); Minnesota (Minn. Stat. 609.67); New Jersey (N.J. Stat. Ann.

§ 2C:39-1(i)); Nevada (Nev. Rev. Stat. § 202.274); Oregon (Or. Rev. Stat. §§ 166.210(7),

166.272); Rhode Island (R.I. Gen. Laws § 11-47-8(d)); and Washington (Wash. Rev. Code. §§

9.41.010(31), 9.41.190.

       87.     Despite these state laws, FRTs have been sold throughout the country, including in

Plaintiff States. ATF has estimated that RBT has distributed at least a combined 100,000 FRT-15s

across the country, including to almost every Plaintiff State. Further, a large portion of RBT’s

customer base are dealers to whom RBT sold the FRT-15s for the purpose of resale. ATF found

that RBT distributed FRTs to third-party sellers that in turn distributed FRTs into every State.

Plaintiff State of New Jersey has acquired records showing that in 2021 and 2022 alone, Rare



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Breed Triggers LLC made 364 deliveries through a commercial shipping service to addresses in

New Jersey.

        88.     Many of these FRTs were recovered from individuals and entities in Plaintiff States.

If the Government Defendants proceed with executing the Redistribution Policy, the number of

FRTs and FRT-equipped firearms in Plaintiff States will increase, resulting from direct returns to

individuals residing in Plaintiff States, sales of FRTs returned to distributors and resellers that then

sell the FRTs into Plaintiff States, and returns to individuals in other States who either bring their

FRTs into Plaintiff States or transfer the FRTs in their possession to individuals residing in Plaintiff

States. Indeed, firearms and related devices that are prohibited in Plaintiff States are still regularly

recovered there, especially when such devices are lawful in other States, in part due to the activities

and presence of significant interstate firearms trafficking networks.

        89.     ATF has specifically confirmed that more than 60 FRTs were previously shipped

to individuals who are prohibited from receiving or possessing firearms under 18 U.S.C. § 922(g).

Because this was based on ATF’s review of a limited number of sales by RBT and other sellers,

and because of the secondary market and other third-party sellers, this is likely a small fraction of

the total number of FRTs shipped to such individuals. Because the Redistribution Policy does not

include a carve out for individuals who are prohibited from possessing firearms under § 922(g) or

similar state laws, States would have to incur additional law enforcement costs to enforce their

state-law equivalents of 18 U.S.C. § 922(g) against prohibited possessors who receive FRTs as a

result of the Redistribution Policy.

        90.     Because the distribution of FRTs into many Plaintiff States will violate state laws,

see supra ¶ 86, those States will incur greater law enforcement costs from having to enforce their

prohibitions on the sale, distribution, and possession of FRTs or FRT-equipped firearms. This

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includes the substantial cost of retrieving FRTs or FRT-equipped firearms that are distributed or

possessed in violation of state law. As noted above, supra at ¶ 73, ATF’s own evidence indicates

that each FRT retrieval takes approximately 16 to 24 hours of law enforcement time.

       91.     As ATF has concluded, the continued availability of FRTs puts the public at risk.

Criminal acts carried out with machineguns, including MCD-equipped firearms, are more deadly

and dangerous, leading to a greater number of casualties and necessitating a greater commitment

of law enforcement and health care resources to respond to such events.

       92.     It is substantially likely that the Redistribution Policy will lead to the increased use

of FRTs, including in criminal incidents. Criminal incidents involving the use of FRT-equipped

firearms are substantially likely to impose additional law enforcement costs on Plaintiff States

because they typically increase the number of victims and involve a greater number of witnesses.

Plaintiff States must respond to such incidents with greater resources to investigate the criminal

incident, including more senior and specially trained personnel to process the scene, more evidence

analysis, and more forensic investigation by medical examiners.

       93.     Criminal incidents involving FRT-equipped firearms are also substantially likely to

impose increased health care costs on Plaintiff States. Higher-casualty events impose substantial

burdens on state-owned or operated health care facilities that treat shooting victims, both because

they increase the number of casualties who must be treated and because firearms with an

accelerated rate of fire tend to cause more severe injuries that involve more medical complications.

       94.     Further, higher-casualty shootings require a commitment of more emergency

medical response personnel, as emergency departments are not routinely staffed to handle the

influx of patients that need care when high-casualty events occur. As a result, any less emergent

patients who were already at the hospital will either have to wait longer for care or will be diverted

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to hospitals that are able to take them in, placing a strain on other local hospitals in the process.

On the other hand, if a mass shooting event occurs in a rural area where hospitals are not equipped

to provide the type of care required, there will be increased mortality rates as critical patients

overwhelm hospital resources and are forced to wait until they can be transported to a larger

hospital.

       95.     Plaintiff States will be forced to absorb these increased health care costs. Plaintiff

State New Jersey, for example, has a state-owned hospital that would be affected by such projected

cost increases. See N.J. Stat. Ann. 18A:64G-6.1a. In 2024, Plaintiff State Maryland expended

$60.3M treating 3,549 patients with firearm related injuries in its state, a cost that will increase if

the Redistribution Policy takes effect.

                                      CAUSES OF ACTION

                                          COUNT ONE
                                  18 U.S.C. ¶ 922—Ultra Vires
                                 Against Government Defendants

       96.     Plaintiffs reallege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       97.     Title 18, Section 922(o)(1) of the U.S. Code provides that it shall be unlawful for

any individual or entity to “possess a machinegun,” which is defined at 26 U.S.C. § 5845(b) as

“any weapon which shoots, is designed to shoot, or can be readily restored to shoot, automatically

more than one shot, without manual reloading, by a single function of the trigger” and “include[s]

the frame or receiver of any such weapon, any part designed and intended solely and exclusively,

or combination of parts designed and intended, for use in converting a weapon into a machinegun,

and any combination of parts from which a machinegun can be assembled if such parts are in the

possession or under the control of a person.”

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        98.     The Redistribution Policy contravenes 18 U.S.C. § 922(o) by giving possession of

“machineguns” to individuals and entities throughout the United States, and is therefore ultra vires.

        99.     The Redistribution Policy will cause Plaintiff States irreparable injuries. The

requested declaratory and injunctive relief is substantially likely to redress these injuries.

                                         COUNT TWO
                      Violation of APA § 706(2)(A), (C)—Contrary to Law
                                Against Government Defendants

        100.    Plaintiffs reallege and incorporate by reference the allegations set forth in the

preceding paragraphs.

        101.    Defendants include “agenc[ies]” under the APA. 5 U.S.C. §§ 551(1), 701(b)(1).

        102.    The Redistribution Policy is a final agency action that is subject to judicial review.

        103.    Under the APA, a court must set aside final agency action that is “not in accordance

with the law,” 5 U.S.C. § 706(2)(A), or which is “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right,” Id. § 706(2)(C).

        104.    An administrative agency’s power to act is “prescribed entirely by statue.” United

States v. Cortez, 930 F.3d 350, 357 (4th Cir. 2019), as amended (July 19, 2019). That is, an

administrative agency “has no power to act . . . unless and until Congress confers power upon it.”

La. Pub. Serv. Comm’n v. F.C.C., 476 U.S. 355, 374 (1986). Any actions that overstep the authority

Congress has granted are ultra vires and contrary to law. See PFLAG, Inc. v. Trump, --- F. Supp.

3d ----, No. 25-cv-337, 2025 WL 685124, at * 16 (D. Md. Mar. 4, 2025).

        105.    The Redistribution Policy is not in accordance with the law and oversteps the limits

Congress has prescribed.

        106.    It is illegal to possess or transfer a machinegun under federal law. 18 U.S.C.

§ 922(o); see also 18 U.S.C. § 921(a)(24); 26 U.S.C. § 5845(b).

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       107.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

declaration that the Redistribution Policy violates the APA.

       108.    Plaintiff States are entitled to a preliminary and permanent injunction preventing

Defendants from implementing the Redistribution Policy.

                                      PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs pray that the Court:

       a.      Declare that the Redistribution Policy is ultra vires;

       b.      Declare that the Redistribution Policy is agency action that is contrary to the laws

               of the United States and is therefore unlawful under 5 U.S.C. § 706(2)(A) and (C);

       c.      Preliminarily and permanently enjoin the Government Defendants from

               implementing or enforcing the Redistribution Policy beyond that specifically

               required by another judicial order by returning any FRTs to any individual or entity

               located in Plaintiff States or to any distributor, dealer, seller, or other entity that

               sells, resells, or otherwise distributes FRTs into Plaintiff States, either directly or

               indirectly;

       d.      Vacate and set aside the Redistribution Policy pursuant to 5 U.S.C. § 706(2);

       e.      Award the States their reasonable fees, costs, and expenses, including attorneys’

               fees, pursuant to 28 U.S.C. § 2412; and

       f.      Award such other relief as this Court may deem just and proper.




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Dated: June 9, 2025                                 Respectfully submitted,

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